Case 2:10-cv-06576-MMM-JCG Document 82 Filed 12/11/18 Page 1 of 2 Page ID #:1262

                      UNITED STATES COURT OF APPEALS
                                                                        FILED
                             FOR THE NINTH CIRCUIT
                                                                        DEC 11 2018
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS




   NIKOLAI GRIGORIEV and                        No. 12-57055
   ANDREW SMUKLER,
                                                D.C. No. 2:10-cv-06576-MMM-JCG
                 Plaintiffs - Appellants,
                                                U.S. District Court for Central
   PETER KRAVITZ, trustee of the AAI            California, Los Angeles
   Litigation Trust,
                                                ORDER
                 Movant - Appellant,

     v.

   DON CHARNEY; et al.,

                 Defendants - Appellees.


          A review of the docket demonstrates that counsel has failed to respond to

  the November 7, 2018 order of this court.

          Pursuant to Ninth Circuit Rule 42-1, this appeal is dismissed for failure to

  prosecute. Counsel for appellants is directed to notify his/her client immediately in

  writing regarding this dismissal.
Case 2:10-cv-06576-MMM-JCG Document 82 Filed 12/11/18 Page 2 of 2 Page ID #:1263

         This order served on the district court shall, 21 days after the date of the

  order, act as the mandate of this court.



                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT

                                                  By: Tina S. Price
                                                  Deputy Clerk
                                                  Ninth Circuit Rule 27-7
